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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI-DADE DIVISION
 In re: Roger Hernandez                                Case Number 24-14741-LMI
                                                       Chapter 7
              Debtor(s)
 _____________________________________/

   NOTICE OF CHANGED CIRCUMSTANCES, PROPERTY NO LONGER IN DEBTOR(S)
        POSSESSION, AND RULE 1019 REPORT OF CHAPTER 13 DEBTOR(S)
                       CONVERTING TO CHAPTER 7

       Debtor(s), by and through the undersigned counsel, and pursuant to 11 U.S.C. 348 and Rule 1019
of the Federal Rules of Bankruptcy Procedure, hereby file(s) this Notice of Changed Circumstance of
Chapter 13 Debtor Converting to Chapter 7, and states as follows:
              Debtor(s) income as reflected in Schedule I of the Chapter 13 petition decreased and
       Debtor is unable to continue to fund the Chapter 13 Plan because:
                             Loss of job for a period
                             Decrease in monthly disposable income
                             Increase in monthly expenses
              Debtor(s) was unable to financially continue funding his/her Chapter 13 Plan because:
                             POC filed by creditor made Chapter 13 Plan not feasible
                              Other: Debtor could not afford the plan payments.
              Debtor(s) Chapter 13 Plan sought to cure the arrearages of Debtor(s)’ homestead and
              Debtor sought and obtained an Order from the Bankruptcy Court allowing the Debtor to:
                            Sell his/her Debtor’s Homestead property; or
                            Re-finance Debtor’s Homestead property.

              Other:
                       _____________________________________________


       Debtor(s) is/are no longer in possession of the real and/or personal property listed in the
following schedules: N/A
                              Schedule A: N/A


                              Schedule B: N/A
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In re: Roger Hernandez                                                        Case No. 24-14741-LMI

    SCHEDULE OF UNPAID DEBTS INCURRED POST-PETITION AND PRECONVERSION
                             (RULE 1019 REPORT)

             Debtor(s), by and through the undersigned counsel, pursuant to Rule 1019 of the Federal Rules
of Bankruptcy Procedure, hereby files this Schedule of Unpaid Debts Incurred Post-Petition and Pre-
Conversion (Rule 1019 Report), and states:

  Creditors Name and Mailing                       C Consideration for    c u d        Amount of
            Address                                o      Claim           o n i         Claim
                                                   d                      n l s
                                                   e                      t i p
                                                   b                      i q u
                                                   t                      n u t
                                                   o                      g i e
                                                   r                      e d d
                                                                          n a
                                                                          t t
                                                                            e
                                                                            d



Total:                                                                                  NONE



                                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was sent, via Regular U.S.
Mail and via CM/ECF to all parties registered to receive electronic service this 6th day of December,
2024

                                                              KINGCADE & GARCIA, P.A
              CERTIFICATE PURSUANT TO                         Counsel for the Debtor
                LOCAL RULE 9011-4(B)                          Kingcade Building
                                                              1370 Coral Way ▪ Miami, Florida 33145-2960
                  I HEREBY CERTIFY that I                     WWW.MIAMIBANKRUPTCY.COM
             am admitted to the Bar of the United             Telephone: 305-285-9100 ▪ Facsimile: 305-285-9542
             States District Court for the
             Southern District of Florida and I am            /s/ Timothy S. Kingcade
             in compliance with the additional
             qualifications to practice in this
                                                              □ Timothy S. Kingcade, Esq., FBN 082309
             Court set forth in Local Rule 2090-              □ Wendy Garcia, Esq., FBN 0865478
             1(A).                                            □ Jessica L. McMaken, Esq., FBN 580163




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Label Matrix for local noticing               United Consumer Financial Services            Aaron’s Sales & Lease
113C-1                                        Bass & Associates, P.C.                       400 Galleria Pkwy
Case 23-15443-LMI                             c/o Patti Bass                                Atlanta, GA 30339-5980
Southern District of Florida                  3936 E. Ft. Lowell Rd., Suite 200
Miami                                         Tucson, AZ 85712-1083
Thu Jul 18 11:45:37 EDT 2024
Aaron’s Sales & Lease                         Aspire Credit Card                            Aspire Credit Card
Attn: Legal Dept                              Attn: Bankruptcy                              Po Box 105555
400 Galleria Pkwy Se, Suite 300               Po Box 105555                                 Atlanta, GA 30348-5555
Atlanta, GA 30339-3182                        Atlanta, GA 30348-5555


Audrey J. Dixon, Esq.                         Capital One N.A.                              (p)CARRINGTON MORTGAGE SERVICE LLC
McMichal Taylor Gray, LLC.                    by American InfoSource as agent               1600 S DOUGLAS RD SUITE 110
3550 Engineering Drive, Ste 260               PO Box 71083                                  ANAHEIM CA 92806-5951
Norcross, GA 30092-2871                       Charlotte, NC 28272-1083


Checksystems                                  Child Support Enforcemment                    Cis Fin Svcs
7805 Hudson Rd                                PO Box 8030                                   369 10th Avenue Sw
Saint Paul, MN 55125-1594                     Tallahassee, FL 32314-8030                    Hamilton, AL 35570-6511



Citibank/The Home Depot                       Citibank/The Home Depot                       Comenity/ MPRC
Citicorp Cr Srvs/Centralized Bankruptcy       Po Box 6497                                   Attn: Bankruptcy
Po Box 790040                                 Sioux Falls, SD 57117-6497                    Po Box 182125
St Louis, MO 63179-0040                                                                     Columbus, OH 43218-2125


Comenity/ MPRC                                Credit One Bank                               Credit One Bank
Po Box 182120                                 Attn: Bankruptcy Department                   Po Box 98872
Columbus, OH 43218-2120                       Po Box 98873                                  Las Vegas, NV 89193-8872
                                              Las Vegas, NV 89193-8873


Dade County Federal Credit Union              Dade County Federal Credit Union              (p)INTERNAL REVENUE SERVICE
1500 Nw 107th Ave                             Attn: Bankruptcy                              CENTRALIZED INSOLVENCY OPERATIONS
Sweetwater, FL 33172-2706                     1500 Nw 107 Avenue                            PO BOX 7346
                                              Miami, FL 33172-2706                          PHILADELPHIA PA 19101-7346


Discover Bank                                 Discover Financial                            Discover Financial
P.O. Box 3025                                 Attn: Bankruptcy                              Po Box 30939
New Albany OH 43054-3025                      Po Box 3025                                   Salt Lake City, UT 84130-0939
                                              New Albany, OH 43054-3025


(p)EQUIFAX INC                                Experian                                      Fingerhut
1550 Peachtree Street NE                      Po Box 2002                                   13300 Pioneer Trail
Atlanta, GA 30309                             Allen, TX 75013-2002                          Eden Prairie, MN 55347-4120



Fingerhut                                     First Premier Bank                            First Premier Bank
Attn: Bankruptcy                              3820 N Louise Ave                             Attn: Bankruptcy
6250 Ridgewood Road                           Sioux Falls, SD 57107-0145                    Po Box 5524
Saint Cloud, MN 56303-0820                                                                  Sioux Falls, SD 57117-5524
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Florida Department Of Revenue                   (p)SEQUIUM ASSET SOLUTIONS LLC                  Foundation Finance Company
5050 W Tennessee St                             1130 NORTHCHASE PKWY                            7802 Meadow Rock Drive
Tallahassee, FL 32399-0100                      SUITE 150                                       Weston, WI 54476-5262
                                                MARIETTA GA 30067-6429


IRS Centralized Bankruptcy Department           LVNV Funding, LLC                               Ocwen Loan Servicing, LLC
PO Box 7346                                     Resurgent Capital Services                      1 Mortgage Way
Philadelphia, PA 19101-7346                     PO Box 10587                                    Mount Laurel, NJ 08054-4637
                                                Greenville, SC 29603-0587


Ocwen Loan Servicing, LLC                       Office of the US Trustee                        PYOD, LLC
1661 Worthington Road                           51 S.W. 1st Ave.                                Resurgent Capital Services
Suite 100                                       Suite 1204                                      PO Box 19008
West Palm Beach, FL 33409-6493                  Miami, FL 33130-1614                            Greenville, SC 29602-9008


PennyMac Loan Services, LLC                     PennyMac Loan Services, LLC                     (p)PORTFOLIO RECOVERY ASSOCIATES LLC
Attn: Correspondence Unit                       Po Box 514387                                   PO BOX 41067
Po Box 514387                                   Los Angeles, CA 90051-4387                      NORFOLK VA 23541-1067
Los Angeles, CA 90051-4387


Premier Bankcard, LLC                           Santander Consumer USA Inc                      Santander Consumer USA, Inc
Jefferson Capital Systems, LLC Assignee         P.O. Box 560284                                 Attn: Bankruptcy
PO Box 7999                                     Dallas, TX 75356-0284                           Po Box 961245
St. Cloud, MN 56302-7999                                                                        Fort Worth, TX 76161-0244


Santander Consumer USA, Inc                     Syncb/walmart                                   Synchrony Bank/Chevron
Po Box 961211                                   P.O. Box 965012                                 Attn: Bankruptcy
Fort Worth, TX 76161-0211                       Orlando, FL 32896-5012                          Po Box 965060
                                                                                                Orlando, FL 32896-5060


Synchrony Bank/Chevron                          Timepayment Corp, LLC.                          Timepayment Corp, LLC.
P.o Box 71737                                   1600 District Ave Ste 20                        Attn: Bankruptcy Dept
Philadelphia, PA 19176-1737                     Burlington, MA 01803-5076                       1600 District Avenue, Ste 200
                                                                                                Burlington, MA 01803-5076


Transunion                                      Truist Bank                                     Truist Bank
Po Box 1000                                     Attn: Support Services                          Po Box 849
Chester, PA 19016-1000                          P.O. Box 85092                                  Wilson, NC 27894-0849
                                                Richmond, VA 23286-0001


United Consumer Financial Services              United Consumer Financial Services              Walmart Credit Services/Capital One
865 Bassett                                     Attn: Bankruptcy                                Attn: Bankruptcy
Westlake, OH 44145-1194                         865 Bassett Road                                Po Box 30285
                                                Westlake, OH 44145-1194                         Salt Lake City, UT 84130-0285


Walmart Credit Services/Capital One             Westlake Portfolio Management, LLC              Nancy K. Neidich
Po Box 71746                                    4751 Wilshire Bvld                              www.ch13miami.com
Philadelphia, PA 19176-1746                     Los Angeles, CA 90010-3827                      POB 279806
                                                                                                Miramar, FL 33027-9806
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Timothy S Kingcade Esq                                Tony Roca                                            Willie J. Martin Jr.
1370 Coral Way                                        The Roca Law Firm, P.A.                              18920 NW 6 Ct
Miami, FL 33145-2960                                  1400 NW 107th Ave.                                   Miami Gardens, FL 33169-3929
                                                      Suite 209
                                                      Miami, FL 33172-2746



                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Carrington Mortgage Services                          (d)Carrington Mortgage Services                      Department of the Treasury
15 Enterprise St                                      Attn: Bankruptcy                                     Po Box 21126
Aliso Viejo, CA 92656                                 1600 South Douglass Road, Stes 110 & 200             Philadelphia, PA 19114
                                                      Anaheim, CA 92806


Equifax                                               Focus Receivables Management, LLC                    (d)Focus Receivables Management, LLC
Po Box 740241                                         1130 Northchase Parkway Se                           1130 Northchase Pkwy
Atlanta, GA 30374                                     Suite 150                                            Marietta, GA 30067
                                                      Marietta, GA 30067


(d)Foundation Finance Company                         Portfolio Recovery Associates, LLC                   (d)Wilmington Savings Fund Society
Attn: Bankruptcy                                      POB 41067                                            c/o Carrington Mortgage Services, LLC
Po Box 437                                            Norfolk VA 23541                                     1600 South Douglass Road
Schofield, WI 54476                                                                                        Anaheim CA 92806




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)U.S. Bank National Association, not in its         (u)Wilmington Savings Fund Society, FSB, as T        (u)Miami




(u)U.S. Bank National Association, et al.             End of Label Matrix
C/O Fay Servicing, LLC                                Mailable recipients    62
PO Box 814609 Dallas, TX 7                            Bypassed recipients     4
                                                      Total                  66
